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12 UNITED STATES DISTRICT COURT
13 FOR THE EASTERN DISTRICT OF CALIFORNIA
14 AND THE NORTHERN DISTRICT OF CALIFORNIA
15 UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
16 PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
17 RALPH COLEMAN, et aL,                              No. 2:90-cv-00520 LKKJFM P

18 Plaintiffs,                                        THREE-JUDGE COURT

19 v.
20 ARNOLD SCHWARZENEGGER, et aL,
21 Defendants.
22
        MARCIANO PLATA, et aL,                        No. C01-1351 TEH
23
                                                      THREE-JUDGE COURT
24 v.                 Plaintiffs,
                                                       EXHIBITS G, PART 3 TO EXHIBIT P TO
 25 ARNOLD SCHWARZENEGGER, et aL,                      DECLARATION OF PAUL MELLO IN
                                                       SUPPORT OF DEFENDANTS' MOTIONS
 26 Defendants                                         IN LIMINE

 27                                                    To: Three-Judge Panel

 28
                                                     - 1 -

         DECL. PAUL MELLO SUPP. DEFS.' MOT. IN LIMINE                                            1648445.1
         (CASE NOS. 90-00520; 01-1351)
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                             EXHIBIT G
                              PART  3
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for :2.01 prisoners), staff in an emergency can only sound the alann, make frantic

telephone or radio calls. and bopefor backup. Ail officer alone. with several hundred

inmates is unlikely, for example, to perform emergency first aid or CPR - it i.s simply

ul1s::te to do so with no backup. when prisoners could easily simulate an emergency as a

diversion. This inability to perform basic lifesaving functions could have potentially


devastating'          consequences on the life and health of a prisoner undergoing a medical or

mental health emergency. This situation presents an unacceptable iisk of hal111 to

pnsoners.

                    3. Watchdogs and gatekeepers ...

        60. Custodial ,~taff Ìn the housing units generally has more contacts with prisoners

than           any other staff. They release piisoners for appointmeiits and meals and are generally


resporlsihle for overseeing the delivery         of   their basic needs. A housing unit officer does

not prov.ide mental health care, but if a prisoner is decompensating, that officer is in the

best posí rion to see what is happening, recognize the problerr, bring in the clinicians to

address the patient's mental health needs, and ensure that he does not harm himself Of

others. Similarly, a housing unit offcer does not provide. medical care, but if a prisoner

does not emerge for multiple meals in a row, that officer is responsible for recognizing

the potential danger and investigating to ensure that the prisoner is not sick, or incapable

of meeting his own needs. Under overcrowded conditions, with short-staffed units, and

Line officers who are overwhelmed and even fearful, they are far less likely to recognize a



                                                       33
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  prisoner in need of services and perform this essential function. In addition, managers are

  overwhelmed, and line staffs oft.en do not get the attention and direction needed to run a

 safe, humane operation.



                                        . .
      . (i I. Sbort-staffing places managers and line st~ff alike in unacceptable posItions. As

 the Receiver has noted, "(m)any CDCR prisons are unable to sustain the basic delivery of

 medicaL, mental health, and dental services because of limited staffing (clinical and

 custody) and an overwhelming number of piisoner/patients who require care. Every day,

 many California piison wardens and health care managers make the difficult decision as

 to which of the class actions, Coleman, Perez, Armstrong, 01" Plala theywil fail to


 comply with because of staff shortages and patient loads." Joint PIs' Trial Ex. 26 at 30

 (Receiver's Report on Overcrowding). I agree, and i observed this phenomenon on my.

prison visits. For example, at San Quentin and ClM, two Reception Centers where

prisoners múst be escorted to meals, yard, laundry, and other basic functions, staff by

thei r O\vii. report get "maxed out" and unable to fulfill the needs of prisoners and the legal

requirements of their jobs. Medical and mental health care are included in this burn-out,

and demoralized staff often make poor decisions.

      62. In an atmosphere of crisis where all operations other than essential safety and

sec   uri ty moves are shut down, medical and mental heal th care are lower and lower

pri.orities. Prison staff is less likely to know the piisoners in their units and have the time,

the ability, and the willngnessto identify and respond appropriately to basic medical and


                                                34
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 mental health needs.

             B. Lockdo\.viÌs


       63. Overcrowding engenders a
                                                            state of perpetual crisis that shuts down non.,

 emerge.ncy prison functions. I agree with the Governor's expert panel: "Staffing

 reductions, overcrowding, and attendant violence have eroded the ability
                                                                                                     of the prisons to


 operat.e effectively for             any purpose other than security." Joint PIs' Trial Ex. 4 at 125

 (Deukmajian Report). Riots and disturbanc;es at                             Avenal, the California Correctional

Center, Calipatria, and Wasco alone account for thousands of days on lockdown or

modified programs. Joint PIs' Trial Ex. i 1 at'- 3 (Declaration of Scott Kernan in Support

of Defendants' Report in Response to the Court's February 15,2007 Order, May 16,

2007). The Governor noted more than a year ago that overcrowding has "substaiitially

limited or restricted inmate movement. . ," Joint PIs' Trial Ex. 1 at 6 (Emergency

Proclamation) .

      64. Lockdowns impact health care delivery because they "call for a radically different

form of medical delivery than the services provided under normal general population

conditions"; when non-essential movement is shut down, "clinical staff must go from cell

to cell to see the prisoner/patient, or small groups off) individual prisoners inust be

escorted by cOLTectional officers to arid from clinic areas," so that lockdowns "inhbit the

delivery of medical care and increase the staffing necessary for such
                                                                                                care." Joint PIs'

Trial Ex. 26 at 29-30 (Receiver's Report Re Overcrowding). Lockdowns are also


                                                                        35
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isolating, keeping prisoners in their cells or bed areas and making it harder to get staff

attention during health care emergencies and hi.-der for custodial staff                   to notice prisoners'


medical and/or mental deterioration.

     65. As a result-of lockdo'..ns, many prisoners spend extreme amounts of time in their

cells or crowded dorms or gyms, with drastically limited time in beneficial programs or

basic living needs. The Coleman SpeCial Master has documented extensively the ways in

which lockdowns and partial 10ckdowl1s ("modified programming") injure prisoners with

mental illness by denying them needed mental health care. Joint Pis' Trial Ex. 36 (l8th

Special Master's Report) at 40 ("(gJroup therapy was available on aU four yards at (High

DesertState Prison), though institutional lockdowns and program restrictions caused

frequent cancellations and limited inmate participation"); 84-85 (at the California State

Prison at Sobno, "(mJodified programing and failure to honor priority ducats for mental

health contacts stymied access to treatment on level III yards, where modified

progr.amming was in force throughout 2006 save for a few weeks. No escorts were

available for mental health appointments"; in addition, "iising caseloads, poor access to

treatment associated. with prolonged modified programming in one yard, and ducat

problems forced clinicians .to resort too often to quarterly visits that were little more than.

a cursory check-in, many of which occurred at cell-front or in locations that compromised

visual or auditory privacy. Under these conditions, a subset of sick inmates got sicker,

and clinicians sometimes missed, or failed to respond appropriately to, signs of mental


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illness"); 208 (California State Prison-Los Angeles County's "administration reported that

lockdowns in November 2006 and January 2007 disrupted (mental health) treatment.");

and 288 (California Institution for Women's ti:eatment unit for seriously rnentally il

patients "continued to límp along,..Although over ten hours of groups per inmate per


week were scheduled; inmates received only two to three hours of treatment peT week.

Staff audits found that 46 percent of groups were cancelled. . .. Lockdowns and other

forms of restricted inmate movement were the largest single cause of cancellations").

     66. I agree with the Receiver that "(o)vercrowding has resulted in increasing numbers


of ix.Isoner distmbances and 'lückdowns' by prison authorities in response. Because of

the heightened security measures associated with lockdowns, medical care
                                                                                                    to the inmates

is delayed and made substantially more time-consuming and cumbersome." Joint PIs'

Trial Ex. 27 at 3 (Receiver's Supplemental Report Re Overcrowding, June 11, 2007).

           C. Classifïcation


     67. Overcrowding has pemicious effects on classification, the central organizing

principal that keeps modern prisons as                         safe as possible for prisoners and staff by

separating 1110re dangerous inmates from more vulnerable prisoners and concentrating

those in need of intensive medical and mental health treatment in places where services

are more readily available and custodial as well as treatment staff are better trained to

meèt their needs. In a proper classification system, pris'oners are assigned an objective
                                                                                                      ,
classification score based on a range of weighted factors intended to predict their


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        institutional risk and specialized needs. . Overcrowding has wreaked havoc with CDCR's

        class.itìcarjon systems. intended to maintain safe conditions and cnsureappropriate

        specialized health care phicement.

              68. Overcrowding leads to classification failures that impact medical and mental

        health care delivery in two ways. First, the overburdened system no longer houses

        prisoners according to their classification levels in an alarming percentage of cases,

        making it harder to provide for their medical and mental. health care needs, and second,

        the   overcrowded system does not have the flexibility needed to respond to inevitable

        crises.

              69. In any well-functioning classification system, "overrdes," or instances in which

        staff make a reasoned determination that a prisoner is more appropiiately housed in a

        d.ifferent location than his classification score would indicate, should be no more than

        i 0%. In California's overcrowded prisons, an estimated 25% of prisoners. are housed

        outside of th.eir s,ecurity levels, many in higher                   security housing. Joint Pls' Trial Ex. 5 at

        J 4 (Dr. .roan Petersilia, Understanding California Corrections). The most common

        reason to override classification                     scores in California is called a "population override,"

        which "occurs when no bed is'                        available at the type of facility that would nonl1ally be used

        for an inmate with a given score. Under those circumstances, the classification staff

        representative has total discretion over prisoner placement. This oven-ide has become

        increasingly common as California prisons have filled up beyond their designed capacity


                                                                          38 .
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         i J, and this shuffling of inmates to aleas that were not designed to hold them has adverse

         consequences for both the facilities and the individuals they house." Ie! (footnote

         ornittcd). In fact. this is not an override at all - this is the rejection of any classification

         scheme at all for these estimated 259'CJ of prisoners, In any event, it is two and an half

         ti mes greater than the accepted nomi for variations from the classification scheme, and

         presents an unacceptable risk of violence and harm. As Dr. PetersilIa notes,

                   There are significant implications of these frequent reassignments to
                   more heavily fortified facilities, where inmate violence is
                   higher,rcit:.uion ami.ttedl the housing cost per-prisoner is higher. and a
                   lower level of programming is avåilable to inmates. In other words, .the
                   pressures of overcrowding frequently lead to housing assignments that
                   are more expensive and dangerous than necessary and less likely to
                   encourage rehabiltation. . . .
                          ("11 . . Prisoners in a maximum-security prison or unit spend a
                   good part of the day in their cell, have strictly regulated movement,
                   and Jre surrounded by a secure. perimeter with extensive gun coverage.
                   At the other extreme, in a minimum-security conservation camp,
                   prisoners spend a large part of the day out of their dorm and have few
                   restrictions on movement within an unfenced security or work awn.
                   (citation omitted) These variations in inmates' level of movement
                   translate into tremendous differences in         their ability to participate in
                   rehabilitation .       programs. "

         ¡d.


               70. I saw these problems in practice at Avenal, wheni'Buiiding 510 houses 300




               . .
         prisoners; the population overflow goes to segregation units intended for punitive

         purposes, where they are treated like segregation prisoners. Similarly, prisoners suffeiing

         acute mental health crises are often housed in punitive administrative segregation

         conditions because of the shortage of mental healthci1sís beds, as noted in Section i.e,

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       above.

           7 i. The widespread rejection of CDCR's classification system                       has a significant

       impacT on medical and mental health care: it is harder to get to health care appointments

       within the prison as well as out-of-prison specialty appointments. and more limited staff

       conLaeT means that staff are less responsive to èmergencies due to distrust, lack of

       understanding and compassion, ancl simple logistics: it is harder to get staff attention in a

       high-pressure, high-security unit. In addition, prisoners are subject to increased degrees


       of danger and potential for violence because they are. placed with more dangerous and

       violent prisoners than their classification scores would warrant.

           72. Mixing prisoners of different security levels and different needs is also extremely

       dangerous. At ClM, J saw prisoners of all security levels, minimum to maximum, in a

       Reception Center dorm setting, and at Valley State Prison for Women, I saw a dayroom

       which had double bunks for Reception Center prisoners. That kind of configuration is

       unacceptable for piisoners who have not been classified, about whom staff k.now little or

       nothing. AtClM, staff in West Facilty admitted that maximum security (Level IV)

       prisoners are in the yards along with minimum security (Level I and II) prisoners. At San

       . Quentin, on West Block and in the Badger Unit of South Block, I saw gang members on

       one tier, protective custody on another, general population on another, and prisoners

       serving life terms on yet another. Having all of these very different, often directly

       opposing needs in one housing unit makes it extremely difficult to meet all of their needs,


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     since gang and protective custody prisoners cannot come into contact with one another,

     for example, necessitating separate yard and feeding                                periods. Health care appointments


     are thus even more difficult to facilitate than would be the case in a short-staffed and

     overcrowded housing unit that nonetheless housed prisoners. with uniform classification

     levels.




                                  , '. .
          73. The second overcrowding-driven classification failure comes about because

     classification systems need built-in flexibility to.respond to unforeseen needs. That is

     why, for example, in Texas we have defined "capacity" to include enough space to ensure

     "proper inmate classification and housing withinth~ unit that is consistent with the

     classification system" as well as "housing flexibility to allow necessary repairs                             and

     routine and preventive maintenance to                          be peiformed without compromising the

     classification system. . . ." Texas Gov't Code § 499.102(a)(1)-(2) (Appendix C).

           74. This level of f1exibilty is impossible with the current violence and state of crisis

     in Cilifornia's prisons. For example, in late 2006, Los Angeles County cancelled a long-

     standing contract with CDCR for 1300 beds, requiring that the beds be vacated by

     January 3 i, 2007. According to COCR' s Director of CDCR Division of Correctional

     Health Care Serv.ices, this action would result in "thousands of inmate moves over a 13-

     week period scheduled to begin in September 2006." Joint Pis.' Tiial Ex. 54 at 1 (Dr.

     Peter Farber-Szekrenyi, letter to Plata Receiver Robert Silen and Coleman Special

     Master J. MichaelKeating, Jr., September i, 2006).


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                75. CDCR simply did not have the capacity to deal with this event in an appropriate

           way and instead was forced to resort to cut1ing legally required corners. The head of

           medical services admitted that during the resulting transfers, CDCR would be unable to

           comply with legal requirements such as transferring prisoners.with a 30-day supply of

           prescribed medications, performing intake assessments and tuberculosis tests on new

           arrivals, and completing medical summary forms for transferring prisoners. ld. at 2~3.

           Other "necessary medical services" would suffer "increased delay": outside specialty

           service appointments would be cancelled for'prisoners scheduled to transfer. ¡d. at 3.

       .. . Furt.her, iIl order. to conduct "required (mental      health) evaluations, the existing mental

           health staffw( auld) have to be redirected from their primary responsibility of direct

           patient care." Jd. at 2.

                      D. M.anageinent systems


                76. Overcrowding has overburdened CDCR's inadequatè management systems that

           underlie health care delivery. The excessive population leads to management failures in

           two ways. First, overcrowding engenders a state of perpetual crisis that causes

           management failures. Administrators spend their time doing damage control, rather than

           making sure the prison is operating properly and prisoners are getting the services that

           they need. I was the warden of a piison with 3,000 prisoners and that was alinost

           unmanageable. A population of 7,000 or more, as is found in some California prisons, is

           not manageable at alL. The sheer size and complexities of managing a prison that size


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      would be overví'helming for one manager especially with the limited resources in the

      areas of staffing and inadequate space for services to the offenders that I observed                    at all



      of the prisons I toured in California. One warden simply cannot know what he/she needs

      to know on a daily basis to make good informed management decisions.

           77. Second, overcrowding overwhelms management infrastructme. .As I have read in

      numerous reports of the Receiver, the CDCR lacks the management information systems

      needed to adequately organize and track prison.er transfers for specialized medical and

      mental health care and public health related needs (for example, people with



      . .
      compromised immune systems not going to Valley Fever risk areas) in the severely

      overcrowded conditions. Joint PIs' Trial Ex. 32 at 53 (Receiver's Sixth Quarterly

      Report). See discussion at I.B.4, above. CDCR also fails to hire adequate numbers of

      custodial as well as medical staff. See Joint PIs' Tnal Ex. 26 at 11-12 (Receiver's Report

      Re Overcrowding).


           78. COCR alsó cannot track and transfer essential health care records, because the

      record system           lacks the capacity to deliver records regarding this many prisoners. I was

      t.old at elM that 98% of parole violators do not have their fies when they arrive, which

      leac!s to security problems because staff are unable to properly classify prisoners. As I

      saw on my tours, staff is failing utterly in the essential task of maintaining health care

      records. Adequate record-keeping is.a basic component of correctional systems

      management, but at A venal, a prison I was told was built for 2900 prisoners with a


                                                                              43
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Cllrent population of 7500, I was told that there was four feet of loose. filing waiting to be

placed in prisoner~' health records. At elM. 1 saw 48 inches of unfied documents, plus

two additional cardboard boxes of unfiIed medical records that had just alTived. Staff taid

me they had 54 inches several days earlier and has been much highe.r at other times. J am

not surprised; given the extraordinary number of prisoners in these facilities, it is simply.

impossible to manually fie so many records on a timely basis. In my experience, such

extraordinary pressure on staff also leads to serious filin,g errors, which means that even

records that have heen filed might not be available to clinicians, and might be impossible

ever to locate.

     79. In. sum, it is impossible under current condìtions to provide adequate medical and

mental health car~ to California prisoners.

III. Overcrowding is the primary cause 'of the           constitutional violations


     80. Based.on the above, my opinion is that overcrowding is the primary cause of the

medical and mental health constitutional violations caused by"deficiencies iIi the support

role played by non-health care staff. In rendeiing this opinion, I agree with the

Governor's blue-ribbon panel of experts that "(tJhe key to reforming the system lies in.

reducing the'numhers." Joint PIs' TiiaJ. Ex. 4 at 3 (Deukmajian Report). I also agree with

the Plata Receiver, when he reports that "(mJost California prisons operate at 200% of

capacity, with no effective relief in sight. Unless and until the living conditions of some

prisons and the overpopulation expeiienced system-wide is effectively addressed, the


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                                                 , I ¡
                Receiver wi1 be impeded in applYing ~~temíc an even some ad hoc remedies to the
                                                 . í;'
                medicaJ care system," Joint PIs 'iTrial l~.53 at 3 eceivets First Bi-Monthly Report,
                                                 . I ¡
                July 5, 2006). I furter agree with the F~lifomia S te Auditor that U(mJeeting the

                                              .i:
                                                 :. i ! .
                constitutional rights of inmates tb receì'v~ minimu standaràs of treaunent" is a problem

                                               . .ldinti PIs' T a1 Ex. 6 at 22~23 (Calfol1ìa State
                that "emergelsj" from overcrowemg,

                Auditor's Rèpott). ¡ alßo agree with it ~ of e Irpeeto General tht efor to



                                                  :. i
                solve ¡he medical care failures "are seiei'eiy hainp~rt:u by inmate popuiation pressures

                that have prisons straining at neariy .tw1cr design c pucity, .spreading staf rcource& thin

                 and leaving little facility space a~ailab~ \f~ progr' ins ~d other puroses.

                Developing sustaible solutions! wil i;~lire the i : CR), state pnHcymak. and the
                            . . ¡ 1.1 .! .
                 public to collectively address theiaVailJbie options' ito reduce overcrowding. Joint Phl

                 Trial Ex. 46 at ES-l (Office of ~e lnp~btor Gener ¡ . Accountabilty Audìt, Review of
                                                         \ !

                 the Audirs of the Califol1a Deparent 9f Correc . i ns and Rehabiltation Adult
                             .. : i ¡ I
                 Operatìons and Adult Program, ~OOO-t904, April 6).


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                 Date: November9,.i007




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                  APPENDIX                   A
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   ..
MGT..:                                              DOYLE WAYNE SCOTT
                                                                                                   SENIOR ASSOClA TE
o f ~. MER: CA. 1 ~¡ C .____


R.A.GE OF EXPERIENCE
                                                                                         YEARS OF
                                                                                         EXI'ERmNCE:
Mr. Scott served over 30 years with the Texas Department of Criminal
Justice and the Texas Board of Pardons and Paroles. He began his
career in corrections in 1972 as a correctional offcer and progressed                    30+
through the ranks to serve as Executive Director of the Texas
                                                                                         EDUCATION:
Department of Criminal Justice (TDCJ). While serving as Executive
Director with the TDCJ, Mr. Scott was responsible for the confinement
                                                                                        . B. A., Business
and care of 151, 000 felony offenders, as well as for the supervision of                  Administration-Finance. Sam
518,000 offenders on probation or parole; he led an agency of more                       HpusIon State Universit;
than 40,000 employees and administered an annual budget of $2.3                         , Huntsvile;, Texas, 1973 :
billion. He initiated major reforms in the management of purchasing,
construction, and contract operations and in the management of the                      . A. A., Navarro ... Junior
agency's finances. Mr. Scott also institùted aggressive new policies to                 . College, Corsicana, Texas,
ensure equal employment opportunity, cultural diversity, and the                         .1971.-
elimination of sexual harassment in the workplace, and has created an
Advisory Council on. Ethics' to increase. staff awareness of ethical                     :.Ai;ws: :
                                                                                                                             ; ~'".
issues and to facilitate the practice of ethical behavior by all of the
                                                                                          Texas 'Cor(ections
agency's employees.
                                                                                          Association - Presidents
                                                                                         .Gavel Award .
 During his tenure Mr. Scott actively pursued accreditation for    the
department's confinement facilties from the American Correctional        Texas'PLlblic Employees
Association. He introduced Several innovative treatment programs, most . Associàtion' - State .. ,
 notably the Inner Change Freedom Initiative, which was begun in 1996 ;"Ágency; Administratordf
 as the first faith-based pre-release program in a penal institution in the.              the\ear. .
 United States. He also began a cooperative effort with a number of local
 communities. statewide to build Habitat for Hùmanity homes with                          Sam Houston state
                                                                                          'University - Dìstingfli.shed.
 volunteer offender labor and to produce 2.5 millon pounds of food grown
 on prison agricultural lands that was donated to local Texas food banks.
                                                                                          Alumni .:.. ..... .~.. .
                                                                                         . Texas Corrections
 The State of Texas and the Texas Board of Criminal Justice honored Mr.                  . Association - Dr. George
 Scott for his service to the state by dedìcatin'g and naming a Texas
 pdson for him in February 2002. .                                                       ..)3eio Hall of lioiio,rAward
                                                                                          Teague'; High, School-

 PROFESSIONAL AND BUSINESS HISTORY
                                                                                                   ': .~. . .
                                                                                          Distinguished ß:lumni .


 MGT of America, Inc., Senior Associate, July 2004 - Present.                            /Adalt¡6nab(nfofm~tion.... .
                                                                                          ;Availabte        qn'.'ReçjÇ¡estd.
                                                                                           .::. .:'. . . .....:   ~.. ; :' ., .:
 Correctional Consultant, May 2002 - June 2004. .

 Management & Training Corporation, Vice President, International Operations, 2001 - 2002.

 Texas Board of Pardons & Paroles, Board Member, 2001.

  Texas Dept. of Criminal Justice, Executive Director, 1996-2001; Instiutional Division Director, 1994
  _ 1996; Deputy Director of Operations,. 1989-1994; Regional Director, 1984 - 1989; Senior Warden-
  Ells li, February - June 1984; Assistant Warden-Ells I, January _. February 1984; Major of
  Correctional Offcers, 1983 - 1984; Captain of Correctional Offcers, 1974 - 1983; Lieutenant of
.MGT..--
        --
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     Correctional Offcers, 1973 - 1974; Sergeant of Correctional Offcers, 1972 - 1973; Correctional
     Officer, January 1972.


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     PROFESSIONAL AND BUSINESS EXPERIENCE
     Consultant on a team hired by the Oklahoma state legislature to examine all operational and
     procedural aspects of all areas of responsibrlty managed by the Oklahoma Department of
     Corrections. The project commenced in June 2007 and is scheduled for completion in December
     2007.

     Consultant on a two-man team hired by the National Institute for Corrections at the request of the
     Commissioner of the Indiana Department of Correction to provide an external, independent review
     of the investigation into the causes and response to a disturbance at the New Castle Correctional
     Facility in April 2007.

     Consultant on an agency-wide operational analysis for the Florida Department of Corrections. MGT
     contracted with the Florida Department of Corrections to provide an agency-wide operational
     analysis with recommendations for retooling specific areas that might. not have been operating
     effectively, efficiently, in compliance with procedures or within the bounds of the law. Areas
     reviewed included the Inspector General's Office, contracting processes, personnel issues, security
     and institutions, and community corrections. MGT was able to accommodate the department's
     aggressive sixty-day schedule for delivery of the final report by. mobilizing staff from different offces
     that have extensive corrections experience.
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       Consultant on an assessment of the New Mexico Department of Correction's policies, procedures,
      and practices as they relate to the deployment of its correctional staff. The review included an.
      assessment of the application of roster management procedures at two representative institutions
      within the Department. The project objective focused on enhancing the effciency and effectiveness
      of the deployment of security staff and to determine if the use of overtime could be reduced.

       Consultant on a project for tlie Cook County Judicial Advisory Council to develop an approach to
       assessing security staffing nèeds at the Cook County (Chicago, Illnois) JaiL. The jail houses over
       10,000 offenders on a daily basis, employs 2,400 officers. and is the largest single~site jail facilty in
       the United States. MGT met with key policymakers, reviewed the jail's physical plant, and assessed
      jail operating policies. MGT reviewed current officer deployment pattems as well as facility
       operating systems and procedures. The project team also assessed security issues associated with
       the facility's physical plant and operational píactices. The project produced a detailed work plan for
       a definitive study of Cook County Jail staffing needs_

       Consultant on a correctional staffing analysis for the Indiana Department of Corrections. The
       objective of the study was to identify the optimum number of staff required to operate two Indiana
       DOC facilities safely and efficiently and to complete on:.site training to IDOC staff in the process
       utiized to determine the optimum staffing level of a correctional facilty. With submission of the final
       report MGT delivered a staffing analysis for the two facilities, in addition to specific
       recommendations on how the IDOC could improve the processes utiized to determine the optimum
       staffing complement required to operate its correctional facilities.

       Consultant on a staffing analysis for the Kentucky Department of Corrections, through a grant from
       the Training Resource Centerof Eastern Kentucky University. The analysis targeted three selected
       institutions within the Department of Corrections in 'order to determine the optimum number of staff
       required to operate these faciliies in a safe and effç:ient manner. MGT issued a final report on its
       findings and recommendations and projected the potential for additional savings if its findings were
       implemented department-wide.

       Consultant on a comprehensive review of the Puerto Rico prison system focusing on security and
       staffing assessments. This study was conducted for a federal district judge who was overseeing t.he
       prison system because of constitutional violations of the rights of inmàtes. Since that study. MGT
       has been hired bY the prison system to help implement the recommendations.

       Directed a team of experts that examined the staffing at every Texas prison and established the
       base staffing requirements that is used by the agency today.

       Served over 30 years with the Texas Department of Criminal Justice and the Texas Board of
       Pardons and Paroles.

       Began his career in corrections in 1972 as a correctional offcer and progressed through the ranks
       to serve as Director of the Texas Department of Crimina! Justice until 1996.
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     PROFESSIONAL MEMBERSHIP

     American Correctional Association
            Vice Chair, Standards Committee
            Member, Policies and Resolutions Commitee

     Association of State Correctional Administrators
            Chairman, Legislative and Legal  Issues Committee
            Member, Standards Commitee
            Member, Substance Abuse Committee
            Member, Controllng the Difficult to Manage Inmate Committee

     Southern States Correctional Association

     Texas Corrections Association
            Chair, Training and Certification Committee

     Texas Public Employees Association

     Law Enforcement and Corrections Technology Advisory Committee


     COMMUNITY ACTIVITIES

     Texas Corrections Association - President's Gavel Award

     Texas Public Employees Association - State Agency Administrator of the Year

     Sam Houston State University - Distinguished Alumni

     Texas Corrections Association - Dr. George Beta Hall of Honor Award

     Teague High School- Distinguished Alumni
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                  APPENDIXB'
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 List of documents reviewed bv Dovle Wavne Scott

 Governor Schwarzenegger1s Proclamation Regarding Prison Overcrowding, State of
 Emergency (October 4, 2006)

 Photographs fì:om the CDCR website, www.cdcr.ca.gov

 CDCR's Inmate Population, Rehabilitation, and Housing Management Plan.

 Finding of        Fact and Conclusions of                  Law re Appointment of       Receiver, Plata v.
 Schwarzenegger, October 3, 2005

 Corrections Independent Review Panel, "Refonning Corrections," June 2004, Chapter 7,
. lninatelParolee Population Management.

 Memorandum written by John Dovey, entitled" Memorandum Re: Mo                                       dÜï   cat   jon to

 Correctional Operations Due to Compelling Operational Need," dated October 25,2006

 Dr. Peter Farber-Szekrenyi's Letter to Robert Silen and J. Michael Keating, Jr., dated
. September I, 2006.

 Statement of CDeR Acting Secretary James Tilton on the Legislature's Failure to Act on
 Critical Prison Refotm Legislation, issued September I, 2006

 Office of        the Inspector General, "Accountability Audit, Review of                      the Audits of        the
 California Dep.artment of Corrections and Rehabiltation Adult Operations and                                      Adult
 Programs, 2000-2004," April 2006..
                                                                                    .
 California Department ofCOlTections (CDCR) Spring 2007 Adult Population                                          Projections.

 Senate Budget and Fiscal Review Committee Subcommittee No.4, Agenda of April 12,
 2007.

 Senate Budget and Fiscal Review Committee Subcommittee No.4, Agenda May 9, 2007.

 Dr. Joan Petersilia, irUnderstaIiding California Corrections," printed on May 29,2007.
 Petersilia, Joan, Understanding California Corrections, California Policy Research
 Center, Universíty of California (May 2006)
 (http://www . ucop.edu/ cprc/documents/understand _ ca _corrections. pdf)

 Declaration of                                       Mandate, California Correctional
                           Scott Kernan in Opposition to Writ of


 Peace Offìcers' Organization v. Schwarzenegger, No. 06CSO i 68 (Sacramento Superior
